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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                  19-mc-47-KLM
Civil Action No. _________________

In The Matter of

       Establishment Inspection of

      Folium Biosciences, LLC
      615 Wooten Road
      Suite 110
      Colorado Springs, CO 80915
______________________________________________________________________________

                   APPLICATION FOR AN ADMINISTRATIVE
                  INSPECTION WARRANT PURSUANT TO THE
             OCCUPATIONAL SAFETY AND HEALTH ACT OF 1970
______________________________________________________________________________

TO THE HONORABLE UNITED STATES MAGISTRATE JUDGE:

       R. Alexander Acosta, Secretary of Labor, United States Department of Labor, through his

undersigned counsel, hereby applies ex parte for the issuance of an administrative inspection

warrant pursuant to § 8(a) of the Occupational Safety and Health Act of 1970 (29 U.S.C. § 651,

et seq.), hereinafter referred to as the Act, and in support of such application alleges upon

information and belief as follows:

       1. Folium Biosciences, LLC (“Folium”), operates a hemp manufacturing facility located

at 615 Wooten Road, Suite 110, Colorado Springs, CO 80915. Folium uses materials, supplies

and equipment manufactured in states other than Colorado and is engaged in a business affecting

commerce within the meaning of § 3(3) of the Act, 29 U.S.C. § 652(3). Folium employs

approximately twelve (12) employees at the location referred to above, and is an employer

within the meaning of § 3(5) of the Act, 29 U.S.C. § 652(5).
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       2. Section 5(a) of the Act, 29 U.S.C. § 654(a), requires that an employer engaged in a

business affecting commerce “(1) shall furnish to each of his employees employment and a place

of employment which are free from recognized hazards that are causing or are likely to cause

death or serious physical harm to his employees; [and] (2) shall comply with occupational safety

and health standards promulgated under this Act.” Pursuant to §§ 6(a) and 6(b) of the Act, 29

U.S.C. § 655(a), (b), the Secretary of Labor has promulgated occupational safety and health

standards which are applicable to general industry, 29 C.F.R. Part 1910.

       3. Section 8(a) of the Act, 29 U.S.C. § 657(a), provides for inspections and

investigations to determine compliance with the Act and said regulations as follows:

       Section 8(a). In order to carry out the purposes of this Act, the Secretary, upon
       presenting appropriate credentials to the owner, operator, or agent in charge, is
       authorized-

       (1) to enter without delay and at reasonable times any factory, plant,
       establishment, construction site, or other area, workplace or environment where
       work is performed by an employee of an employer; and

       (2) to inspect and investigate during regular working hours and at other
       reasonable times, and within reasonable limits and in a reasonable manner, any
       such place of employment and all pertinent conditions, structures, machines,
       apparatus, devices, equipment, and materials therein, and to question privately
       any such employer, owner, operator, agent or employee.

      4. Advance notice of inspections to be conducted under the Act is prohibited by § 17(f),

29 U.S.C. § 666(f).

      5. Under the authority of § 8(g)(2) of the Act to prescribe “regulations dealing with the

inspection of an employer's establishment” the Secretary of Labor has promulgated 29 C.F.R.

§ 1903.4, authorizing the Area Director of the Occupational Safety and Health Administration

(OSHA) or his designee to obtain compulsory process to conduct an inspection, including ex

parte application for an inspection warrant.


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      6. The Court has jurisdiction for the ex parte issuance of an administrative inspection

warrant under section 8(a) of the Act, 29 U.S.C. § 657(a). Marshall v. Barlow's, Inc., 436 U.S.

307, 98 S.Ct. 1816 (1978), Marshall v. W and W Steel Company, Inc., 604 F.2d 1322 (10th Cir.

1979). Probable cause for the issuance of an administrative warrant under § 8(a) of the Act may

be based either upon specific evidence of an existing violation or upon a showing that the

proposed inspection is pursuant to an administrative plan containing specific neutral criteria.

Marshall v. Barlow's, Inc., supra, at 436 U.S. 319, 98 S.Ct. 1824; Martin v. International Matex

Tank Terminals--Bayonne, 928 F.2d 614, 622 (3d Cir. 1991).

      7. To establish “specific evidence” administrative probable cause, the Secretary’s warrant

application need not establish the level of probable cause required in a criminal setting. The

application need only “provide enough specific evidence to support a reasonable suspicion that

an OSHA violation is occurring.” In re Establishment Inspection of Midwest Instruments Co.,

900 F.2d 1150, 1154 (7th Cir. 1990). See also International Matex Tank Terminals, infra, 928

F.2d at 624-625; West Point-Pepperell, Inc., 689 F.2d 950, 958 (11th Cir. 1982); Marshall v.

Horn Seed Co., 647 F.2d 96, 102 (10th Cir. 1981); Donovan v. Blue Ridge Pressure Castings,

Inc., 543 F.Supp. 53, 58 (M.D. Pa. 1981).

      8. OSHA has received evidence supporting a reasonable suspicion that one or more

OSHA violations are occurring. The accompanying declaration of David Nelson, Area Director

of the Englewood Area Office of the Occupational Safety and Health Administration (OSHA),

describes the evidence received by OSHA as follows:

               [4.] OSHA’s Englewood Area Office received a complaint from an individual
       who provided his or her name and stated he or she was currently or formerly employed at
       Folium Biosciences, LLC (“Folium”), 615 Wooten Road, Suite 110, Colorado Springs,
       CO 80915 (the “Facility”). The complaint alleged several serious safety hazards and/or
       violations at the Facility. Specifically, the complaint alleges that employees of Folium
       are exposed to the following unsafe conditions:

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           (a) Employees are exposed to fall hazards due to the removal of a railing during
           material hoisting.

           (b) Employees are potentially exposed to overhead hazards but do not wear head
           protection when loading and unloading the KRAKEN CO2 machine.

           (c) Employees are exposed to trip hazards due to uncovered holes, approximately
           3-inches diameter, in walking-working surfaces.

           (d) Employees are exposed to emergency egress hazards, such as, but not limited
           to, blocked emergency exits, a lack of training on emergency egress routes, a lack
           of posting of emergency exit routes, and emergency exit routes that lead through
           high-hazard areas. These conditions could prevent employees from exiting the
           facility in a safe and expeditious manner in the event of a fire or other emergency.

           (e) Employees are potentially exposed to fire hazards due to the lack of a fire
           prevention plan.

           (f) Employees are exposed to fire and explosion hazards due to a lack of training
           on the handling, storage, and use of compressed gas cylinders.

           (g) Employees are exposed to chemical and fire hazards due to inadequate
           storage, handling, use, and clean-up of flammable liquids, such as hexane.

           (h) Employees are exposed to chemical hazards due to skin contact with chemical
           irritants, such as hexane, because of the absence of a written personal protective
           equipment (“PPE”) assessment and a lack of enforcement of PPE use.

           (i) Employees are exposed to respiratory hazards, such as hexane, because of an
           inadequate respiratory protection program, lack of training on the use, storage,
           and maintenance of respirators, and a lack of adequate respiratory protection
           suited to the hazards of the workplace.

           (j) Employees are exposed to confined space hazards when working in the ROTO
           room.

           (k) Employees are exposed to caught-in, crushing, and struck-by hazards due to
           the unexpected release of hazardous energy because of the lack of a lock-out/tag-
           out program.

           (l) Employees are potentially exposed to chemicals, such as hexane, over the
           permissible exposure limits of those chemicals.

           (m) Employees are exposed to chemical hazards due to the lack of an adequate
           written hazard communication program, including employee training on the
           hazards of the chemicals with which they work, controls in place to protect
           employees, and the health effects of the chemicals with which they work.

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A redacted copy of the complaint is attached as Exhibit A.

               [5.] The complaint was processed pursuant to OSHA internal directive CPL
       2.103, which establishes complaint policies and procedures, as well as the Englewood
       Area Office’s internal complaint procedures. The above mentioned hazards may
       constitute violations of specific OSHA general industry standards, or, alternatively, of 29
       U.S.C. § 654(a)(1), which requires employers to furnish employment and a place of
       employment which are free from recognized hazards that are likely to cause death or
       serious physical harm to employees.

               [6.] On June 3, 2019, Compliance Safety and Health Officer (“CSHO”) Mitch
       Phillips opened the complaint inspection with Folium’s associate general counsel,
       Ricardo Calzada. Mr. Calzada contacted Folium’s general counsel, Craig Brand. Mr.
       Brand was in Los Angeles, California at the time and asked CSHO Phillips to not begin
       the inspection until he returned from Los Angeles. CSHO Phillips explained that he
       could not wait that long nor could he reschedule the inspection. Mr. Brand then refused
       to allow CSHO Phillips to begin the inspection. Mr. Brand asked CSHO Phillips to
       contact him prior to the CSHO’s returning to the Facility. CSHO Phillips explained that
       he could not do that, either. CSHO Phillips then departed the Facility.

               [7.] After my own review, and based on my 26 years of experience in the safety
       and health field, I find that the complaint furnishes reasonable grounds to believe that
       violations of mandatory occupational safety and health standards and/or Section 5(a)(1)
       of the Act exist or existed at the workplace. The violations alleged, if true, could result in
       a serious accident or illness causing permanent disability or death.

               [8.] An administrative inspection warrant is necessary because Folium’s general
       counsel, Craig Brand, required CSHO Phillips to terminate the inspection and leave the
       Facility on June 3, 2019. An inspection warrant is necessary to obtain entry into the
       work site without delay as contemplated by the Act. Accordingly, application is hereby
       made for an administrative inspection warrant that would authorize such inspection.

Declaration of David Nelson (“Nelson Dec.”).

      9. As Mr. Nelson’s declaration states, the foregoing information furnishes reasonable

grounds to believe that violations of mandatory occupational safety and health standards and/or

Section 5(a)(1) of the Act (29 U.S.C. 654(a)(1)) exist at the Folium workplace. Nelson Dec. at

para 7. The inspection for which the Secretary seeks an administrative inspection warrant is

necessary to determine the full nature and extent of employee exposure to potentially dangerous

conditions at the workplace.



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      10. An administrative inspection warrant is necessary because Folium’s general counsel,

Craig Brand, denied OSHA entry on June 3, 2019. An inspection warrant is necessary to obtain

entry into the work site without delay as contemplated by the Act. Accordingly, application is

hereby made for an administrative inspection warrant that would authorize such inspection.

      11. In his declaration, Mr. Nelson further describes the manner in which the proposed

inspection will be conducted and its scope. Nelson Dec. at paras. 9-16.

      12. Within fifteen (15) days after completion of the requested warrant inspection a return

will be made to the Court showing that the inspection ordered therein has been completed.

      WHEREFORE, probable cause having been shown, the Secretary of Labor prays that the

Court issue a warrant authorizing entry by authorized representatives of the Occupational Safety

and Health Administration upon the premises described in paragraph 1 hereof during regular

working hours, authorizing them to inspect the places of employment, conditions, and machines

specified herein, for the purposes and subject to the limitations stated above. A proposed

warrant is submitted herewith, stating with more specificity the scope and objects of the

proposed inspection.

      Submitted this 3rd day of June 2019.


                                                     Kate S. O’Scannlain
                                                     Solicitor of Labor

                                                     Connie M. Ackermann
                                                     Acting Regional Solicitor

                                                     John Rainwater
                                                     Associate Regional Solicitor

                                                     Timothy S. Williams
                                                     Counsel for Safety and Health



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                                         /s/ Beau Ellis_______________________
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